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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                     )
                                              )
                     Plaintiff,               )                  4:09CR3090
                                              )
              v.                              )
                                              )       MEMORANDUM AND ORDER
ALBERTO GONZALEZ,                             )
                                              )
                     Defendants.              )

       Defendant Kevin Jarzell Moore’s appointed counsel, Alan G. Stoler, has moved for
leave to withdraw due to a conflict of interest. (Filing No. 57). Accordingly,


       IT IS ORDERED:

       1)     The motion to withdraw filed by Alan G. Stoler, (filing no. 57), is granted.
              Mr. Stoler shall promptly serve defendant with a copy of this order. The Clerk
              is directed to remove Mr. Stoler from all future ECF notifications in this case.

       2)     The Federal Public Defender shall forthwith provide the court with a draft
              appointment order (CJA Form 20) bearing the name and other identifying
              information of a CJA Panel attorney identified to represent the defendant
              herein in accordance with the Criminal Justice Act Plan for this district.

       3)     Upon appointment, new defense counsel shall promptly enter his or her
              appearance.


       DATED this 5 th day of February, 2010.

                                             BY THE COURT:

                                             s/ Cheryl R. Zwart
                                             Cheryl R. Zwart
                                             United States Magistrate Judge
